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IN THE uNITED STATES DlSTRlcT cOURT
FOR THE WESTERN DISTRlcT oF TENNESSEE 05 ; ?~j c . § `
WESTERN DNISION "‘ : ' *‘“‘ ’ "‘-

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WD or TN mims-us
UNITED STATES OF AMERICA

Plaintiff,
VS CR. NO. 04~20311-Ml
VENCEL MARTIN

Defendant(s)

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ORDER GN CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set a Report Date on Friday, April 22, 2005 at 9:00
a.m. Counsel for the defendant requested a continuance of the present
setting. The continuance is necessary to allow for additional
preparation in the case.

The Court granted the request and continued the matter for trial
on Monday, June 6, 2005 at 9:30 a.m. with no further report dates.

The period from May 13, 2005 through June l7, 2005 is excludable
under l8 U.S.C. § Blél(h)(B)(B)(iv) to allow defense counsel additional
time to prepare.

IT IS SO ORDERED this the ;?LQ day Of April, 2005.

@MM

PHIPPS MCCALLA
UO ITED STATES DISTRICT JUDGE

 

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UNITED `sATEs DISTRIC COURT - WTERN D's'TRCT oFTENNESSEE

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Honorable J on McCalla
US DISTRICT COURT

